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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No. 23-cv-851

 ELIZA LUCERO

 Plaintiff,

 v.

 CITY OF AURORA;

 ANDREW SILBERMAN, Aurora Police Department Detective, in his individual capacity;

 Defendants.



                              COMPLAINT AND JURY DEMAND


                                        INTRODUCTION

          1.    On August 24, 2019, Aurora Police Department (“APD”) officers Nathan

 Woodyard, Jason Rosenblatt, and Randy Roedema murdered Elijah McClain, an innocent 23-year-

 old Black man who was walking home from a convenience store.

          2.    When news of Mr. McClain’s murder broke, Eliza Lucero, a committed activist and

 social justice leader, began helping to organize demonstrations calling for transparency surrounding

 Mr. McClain’s death. Ms. Lucero and her fellow protest leaders attended Aurora City Council

 meetings and called on numerous public officials to investigate APD’s role in Mr. McClain’s death.

 They organized press conferences demanding that APD’s Chief of Police release video of the

 incident. They organized demonstrations demanding justice for Mr. McClain and his family. This

 activism helped spark the Justice for Elijah McClain movement.



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        3.      In 2019, the City of Aurora and APD reacted to Ms. Lucero’s advocacy with

 hostility. The Aurora City Council dragged its feet, then decided against opening an investigation

 into APD’s murderous misconduct. The Adams County District Attorney refused to hold the

 officers accountable. Instead, Aurora stood behind Mr. McClain’s killers, continuing to employ them

 as police officers. Instead of engaging with the fact that APD officers had murdered a gentle and

 peaceful Black man without cause, Aurora sought to cover up the officers’ horrific conduct.

        4.      When Aurora refused to engage with the protestors’ demands for police

 accountability, the public energy behind the movement fizzled. However, Ms. Lucero’s commitment

 to truth and justice was unwavering. Then, on May 25, 2020, Minneapolis Police Officer Derek

 Chauvin murdered George Floyd, kneeling on his neck for nine minutes and 29 seconds while

 onlookers screamed that he was killing Mr. Floyd and begged him to stop. This began a national

 awakening concerning the scourge of police violence against Black people and injected new energy

 into the movement to get justice for Elijah McClain.

        5.      In the wake of George Floyd’s murder, Ms. Lucero and her fellow protest leaders

 once again organized demonstrations seeking justice for Elijah McClain. Their goals were simple: to

 ensure that Mr. McClain’s name was not forgotten, to create accountability for the officers who

 murdered him, and to force APD to change its ways so that horrific incidents such as what

 happened to Elijah McClain might stop occurring. Ms. Lucero and her fellow protest leaders again

 called on the Aurora City Council to launch an independent investigation into Mr. McClain’s

 murder. They organized months of marches demanding justice. They organized a march the day of

 the violin vigil that was held to celebrate Mr. McClain’s life. And Ms. Lucero and her fellow protest

 leaders organized a protest outside of APD’s District 1 Station on July 3, 2020, where they called on

 then-Police Chief Vanessa Wilson to fire the officers who killed Mr. McClain.

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        6.      The protests worked. Responding to massive public pressure, the Aurora City

 Council commissioned an investigation into Elijah McClain’s death and APD’s investigation of it.

 This was a necessary initial step towards healing the rift between Aurora’s government and its

 residents. It also left APD with a choice: cooperate with the investigation and seek to correct any

 problems it uncovered, or fight the investigation as hard as possible, including targeting the protest

 leaders who dared to demand that Aurora tell the truth about what happened to Elijah McClain.

        7.      APD chose the latter path. In response to the Aurora City Council’s unanimous vote

 to commission an investigation into APD’s role in Mr. McClain’s death, APD assembled a task force

 with the explicit purpose of discrediting Ms. Lucero and her fellow protest leaders by concocting

 criminal charges against them. APD marshalled massive resources behind this effort, including

 dozens of police personnel, multiple detectives, and thousands of law enforcement man hours, all

 dedicated to trying to arrest, prosecute, and imprison those who dared expose the truth behind

 APD’s murder of Elijah McClain and subsequent cover-up.

        8.      Detective Andrew Silberman volunteered to lead the prong of APD’s task force that

 focused on the July 3, 2020 protest. Under his direction, task force officers spent hundreds if not

 thousands of hours scouring surveillance video, body worn camera video, and social media to try to

 generate criminal cases against Ms. Lucero and others. However, all they found was what was

 obvious all along: Ms. Lucero broke no laws. She engaged in no misconduct. All she did was seek

 accountability for the murderers employed by APD that APD was determined to protect.

        9.      Despite knowing he had not uncovered probable cause to believe Ms. Lucero had

 committed any crime, Detective Silberman pushed forward. He wrote a 33-page single-spaced

 affidavit in which he attempted to portray Ms. Lucero as a cop-kidnapping terrorist who had

 entrapped APD officers inside District 1. To do this, he omitted the most salient fact from his

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 affidavit, because he knew that if he included it, he would never get a warrant: the officers inside

 District 1 on July 3, 2020 stayed inside not because they were trapped, but because they had been

 ordered to remain inside by Chief Wilson and her chain of command. Armed with a warrant he

 secured only through deception, Detective Silberman had Ms. Lucero arrested by a SWAT team,

 incarcerated for eight days during the height of COVID, and initiated an unfathomable malicious

 prosecution that threatened Ms. Lucero with decades in prison.

         10.     As the preliminary hearing approached in Detective Silberman’s baseless case against

 Ms. Lucero, he and the prosecutors sought to find a way to make their concocted charges stick. On

 March 5, 2021, four days before Ms. Lucero’s preliminary hearing, Detective Silberman and the

 prosecutors conducted a proffer interview with a person who had been at the July 3 protest, Trey

 Quinn. Unfortunately for Detective Silberman, this proffer interview did not go as he had hoped.

 Mr. Quinn was unequivocal: he did not like Ms. Lucero, but she had not done anything illegal.

         11.     Detective Silberman then made an unforgivable choice. At the preliminary hearing

 four days later, he lied under oath, pretending that his interview with Mr. Quinn just four days earlier

 had not happened. Asked point blank about what interviews he had conducted, he perjured himself.

         12.     Detective Silberman’s perjury would likely have won the day had the preliminary

 hearing concluded on March 9. However, by the end of that day the testimony was not complete,

 and the hearing was continued until March 22. In the intervening weeks, the prosecution was forced

 to disclose Mr. Quinn’s interview, exposing Detective Silberman’s lie. When the Court was

 presented with Mr. Quinn’s interview, it found that there was no probable cause for any charge that

 was eligible for a preliminary hearing. The prosecution dismissed the remaining charges soon after.

         13.     At the behest of his superiors at APD, Detective Silberman did everything within his

 power to inflict as much pain as possible on Ms. Lucero and her fellow protest leaders for daring to

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 shine a light on some of the most horrific police misconduct our country has seen in recent decades.

 Both he and the City of Aurora will now face consequences for their actions.



                                     JURISDICTION & VENUE

         14.     This is a civil rights action for monetary damages, declaratory relief, injunctive relief,

 and relief in the nature of mandamus, brought pursuant to 42 U.S.C. § 1983 and C.R.S. § 13-21-121.

         15.     This Court possesses subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343,

 and 2201-02. Ms. Lucero seeks attorney fees and costs. 42 U.S.C. § 1988; C.R.S. § 13-21-121.

         16.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All the

 events alleged herein occurred in the State of Colorado, and all the parties were residents of and

 domiciled in the State at the time of the events giving rise to this Complaint.



                                                PARTIES

         17.     Eliza Lucero is the plaintiff. At all relevant times, she was a resident of Colorado.

         18.     City of Aurora (“Aurora”) is a municipality in Colorado. Aurora enforces state and

 local law through its law enforcement agency, APD. At all relevant times, Aurora employed and was

 responsible for the direction, supervision, training, and discipline of APD officers, including

 Defendant Andrew Silberman.

         19.     Andrew Silberman was, at all relevant times, a detective and a peace officer employed

 by Aurora. At all relevant times, Defendant Silberman was acting within the scope of his official

 duties and under color of state law in his capacity as an officer with APD.




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                                     FACTUAL ALLEGATIONS

   I.    Beginning in 2019, Ms. Lucero helped organize protests seeking accountability for
         the APD officers who murdered Elijah McClain

         20.     On August 24, 2019, Elijah McClain was walking home from a corner store with an

 iced tea and listening to music. APD officers Woodyard, Roedema, and Rosenblatt grabbed him,

 forced him to the ground, and violently assaulted him. For the next 17 minutes, Mr. McClain begged

 for his life while these officers applied pain control techniques, torturing the handcuffed, prostrate,

 143-pound, 23-year-old Black violinist. The officers repeatedly used carotid choke holds during this

 brutal assault. Their choke holds rendered Mr. McClain unconscious.

         21.     Shortly thereafter, Aurora Fire Rescue (“AFR”) personnel arrived. Two AFR

 paramedics, Jeremy Cooper and Peter Cichuiec, somehow decided Mr. McClain was a combative

 beast in need of taming rather than a terrified, small, passive Black man begging for his life. Mr.

 Cooper and Mr. Cichuiec falsely advised another paramedic that Mr. McClain was exhibiting signs of

 excited delirium and requested that this paramedic draw 500 milligrams of ketamine to tranquilize

 Mr. McClain. Mr. Cooper then injected those 500 milligrams of ketamine into Mr. McClain’s body

 while APD officers held Mr. McClain down. Within seconds, Mr. McClain began taking labored,

 agonal breaths. APD officers and paramedics moved Mr. McClain to an ambulance. By the time Mr.

 McClain got there, he was not breathing and had no pulse. He never regained consciousness. Mr.

 McClain was pronounced brain dead on August 27, 2019, after several days on life support. He was

 taken off life support on August 30, 2019 and died that day.

         22.     Shortly thereafter, Ms. Lucero and other activists began organizing direct actions to

 demand a public accounting of the events surrounding Mr. McClain’s death.




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        23.     On October 7, 2019, Ms. Lucero and others led dozens of protesters in a peaceful

 assembly in front of the Aurora Municipal Center before a City Council meeting.

        24.     Ms. Lucero then attended the City Council meeting where she stood with Mr.

 McClain’s family, spoke out against police violence, and demanded that the City of Aurora conduct

 an independent investigation into Mr. McClain’s death. She called on the City Council to release

 body camera footage of the incident. She demanded that Aurora pay the costs of Mr. McClain’s

 funeral so that Elijah’s mother could afford to bury her son. She called on APD to discipline the

 involved officers and remove them from the force. She demanded that the Adams County DA

 charge those responsible for killing Mr. McClain.

        25.     Despite the efforts of Ms. Lucero and others, on November 22, 2019, Adams

 County District Attorney Dave Young announced his decision to clear Officers Woodyard,

 Rosenblatt, and Roedema of wrongdoing.

        26.     Hours later, APD released the footage from the officers’ body-worn cameras.

        27.     In response to DA Young’s announcement, on November 23, 2019, Ms. Lucero and

 others worked to organize an emergency protest at APD Headquarters.

        28.     At that protest, Ms. Lucero and her fellow protest organizers demanded justice for

 Mr. McClain, called on APD to discipline the officers who killed him, and again called for an

 independent body to investigate Mr. McClain’s death.

        29.     Meanwhile, Aurora did everything in its power to ensure its officers escaped

 accountability. Despite having the body camera video, despite knowing exactly what Officers

 Woodyard, Rosenblatt, and Roedema had done – commit a literal murder – APD and the City of

 Aurora did nothing. Instead, the APD hierarchy kept officers they knew were killers on the force

 policing the people of Aurora.

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  II.   When Minneapolis police officers murdered George Floyd, Ms. Lucero helped
        organize the Colorado protests and sought justice for the APD officers who
        murdered Elijah McClain

        30.     On May 25, 2020, Minneapolis police officers murdered George Floyd. Derek

 Chauvin placed his knee on Mr. Floyd’s neck and kept it there for nine and a half minutes, killing

 Mr. Floyd while his fellow officers looked on and stopped the outraged gathered citizens from

 intervening. A person in the assembled crowd recorded the incident. The shocking video sparked

 protests across the nation and began a national conversation about the scourge of police brutality.

        31.     With national attention finally focused on this extremely important issue, Ms. Lucero

 and a dedicated group of protest leaders made a commitment: Mr. McClain would not be forgotten,

 and APD would not be allowed to sweep his death under the rug. Ms. Lucero and her fellow protest

 leaders resolved to reinitiate their campaign to seek justice for Mr. McClain and his family.

        32.     Over the next several months, Ms. Lucero and her fellow protest leaders organized

 demonstrations and press conferences and waged a media campaign designed to force Aurora to

 reveal the truth about what happened to Mr. McClain and reckon with the fact that instead of

 seeking justice for Mr. McClain’s killers, Aurora and APD tried to cover it up.

        33.     After weeks of daily protests at the Colorado State Capitol, Ms. Lucero and her

 fellow protest leaders focused their attention directly on Aurora. They worked with Mr. McClain’s

 family to organize a day of events to honor Mr. McClain’s life, with Ms. Lucero helping organize a

 march to rally the public prior to the event that came to be known as Elijah McClain’s Violin Vigil.

        34.     On June 27, 2021, based on the organizing efforts of Ms. Lucero and others,

 thousands of people marched to the Aurora Municipal Center. They gathered on the lawn to hear

 from Mr. McClain’s family, activists from local social justice movements, and others who were

 united in demanding change. They demanded transparency and accountability from APD. They also

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 gathered to play and listen to music created in honor of Mr. McClain, a violinist. The event attracted

 extensive media coverage, putting further force behind Ms. Lucero and her fellow protest leaders’

 demands for accountability and change at APD.

         35.     As people gathered to listen to violin sonatas, the sound of Mr. McClain’s favorite

 music was interrupted by APD officers shouting commands into megaphones and threatening to

 arrest people lawfully and peacefully assembled on the Aurora Municipal Center lawn.

         36.     The assembled violinists and cellists continued playing as APD escalated its tactics,

 encircling the thousands of people gathered on the lawn.

         37.     APD officers clad in riot gear and armed with riot control weapons attacked this

 peaceful celebration of Mr. McClain’s life. They shot pepper-balls and sprayed noxious chemical

 agents into peoples’ faces from point blank range, injuring countless peaceful protestors who were

 lawfully assembled and posed no threat to public order.

         38.     The backlash against Aurora’s heinous crackdown on peaceful protestors was swift

 and fierce. Media coverage of APD’s gestapo tactics went viral across the country, with national

 media outlets reporting that APD had “terrorized an already reeling and grieving community.”

         39.     Aurora’s brutal response galvanized further support for the protestors’ goals, shining

 an even brighter spotlight on Aurora’s incomprehensible determination to resist any and all change

 and to continue employing murderers to police the city. APD and the City of Aurora, on top of

 facing accusations of murder and a corrupt coverup of that murder, now faced a PR disaster.

 III.    The July 3, 2020 protest and its aftermath

         40.     On July 2, 2020, then-Chief of Police Vanessa Wilson announced that she had fired

 three APD officers who had photographed themselves reenacting and joking about the carotid hold

 their fellow officers had used in killing Mr. McClain.

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         41.       However, then-Chief Wilson refused to take action against the three officers who

 committed the murder.

         42.       With APD’s unconscionable leadership decisions compounding by the day, Ms.

 Lucero and her fellow protest leaders organized a demonstration for the next night. They took to

 social media, publicizing the demonstration demanding #JusticeforElijahMcClain. Their demands

 were clear: “Time’s up, APD! Fire Roedema, Rosenblatt, & Woodyard NOW!”

         43.       On the evening of July 3, 2020, several thousand protesters answered the call sent by

 Ms. Lucero and her fellow protest leaders. The assembled citizenry marched to APD’s District 1

 Police Station.

         44.       Evidencing their commitment to nonviolent resistance, Ms. Lucero and her fellow

 protest leaders gathered the crowd outside of APD’s District 1 Police Station and exhorted them to

 protest peacefully.

         45.       Using megaphones, Ms. Lucero and her fellow protest leaders led chants calling on

 APD to fire the officers who murdered Elijah McClain.

         46.       As the night went on, Ms. Lucero and those with whom she worked forcefully stated

 their demands while simultaneously working to keep the protest peaceful.

         47.       Ms. Lucero discouraged the building of barricades.

         48.       Ms. Lucero was explicit that the protestors should not attempt to tie the doors of the

 police station.

         49.       As a seasoned and effective protest leader, Ms. Lucero knew that Aurora would seize

 any opportunity to try to make the media narrative be about unruly protestors.

         50.       Based on this knowledge, Ms. Lucero told anyone who would listen that the

 protestors needed to be forceful in their demands yet peaceful in their actions.

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         51.     During this demonstration, then-Chief Wilson and her chain of command at APD

 ordered the APD officers in the station to stay inside the station.

         52.     To avoid further negative media coverage, Chief Wilson ordered her officers not to

 confront the protesters.

         53.     Based on this decision, the protest proceeded peacefully outside of District 1. While

 a few people built barricades and put ropes around certain door handles, there was no violence and

 there was always an unblocked door for egress.

         54.     Ms. Lucero and her fellow protest leaders told the individuals taking these actions

 that building barricades and blocking doors was unhelpful and that they should stop.

         55.     The peaceful July 3, 2020 protest Ms. Lucero helped organize attracted extensive

 media coverage for the thousands of people it rallied in support of accountability for APD officers.

         56.     In combination with similar protests that came before and after, the protest leaders

 galvanized the community. The politicians of Aurora could no longer stand by and do nothing; the

 public pressure had become too great.

         57.     In direct response to the protests Ms. Lucero helped organize, on July 20, 2020, the

 Aurora City Council voted unanimously to commission an independent investigation into Mr.

 McClain’s death.

         58.     The Aurora City Council’s investigation vindicated Ms. Lucero and her fellow

 protestors, making clear that everything they had been saying about APD’s killing of Elijah McClain

 and subsequent coverup were correct.

         59.     Although the Investigation Report and Recommendations did not attempt to assign

 legal responsibility to the officers who killed Mr. McClain, it concluded that the officers involved in

 Mr. McClain’s death had used force on Mr. McClain within seconds of police contact, twice put him

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 in carotid holds, and had him injected with ketamine. The Report further found that “the post-event

 investigation was flawed and failed to meaningfully develop a fulsome record.” Ultimately, the

 Report revealed that APD attempted to cover up its officers’ murder of Mr. McClain:

         The Aurora Police Department’s Major Crime/Homicide Unit investigation of the
         death of Mr. McClain raised serious concerns for the Panel and revealed significant
         weaknesses in the Department’s accountability systems. First, the interviews
         conducted by Major Crime investigators failed to ask basic, critical questions about the
         justification for the use of force necessary for any prosecutor to make a determination
         about whether the use of force was legally justified. Instead, the questions frequently
         appeared designed to elicit specific exonerating “magic language” found in court
         rulings. Major Crime’s report was presented to the District Attorney for Colorado’s
         17th Judicial District (the “District Attorney”) and relied on by the Force Review
         Board, but it failed to present a neutral, objective version of the facts and seemingly
         ignored contrary evidence.

  IV.    APD’s despicable response to the Aurora City Council’s investigation announcement

         60.     When the Aurora City Council announced its investigation into misconduct by APD

 officers in their interactions with Mr. McClain and investigation into his death, APD could have

 been chastened. It could have recognized the terrible errors it had made and vowed to cooperate

 with the investigation. Instead, APD decided to do the opposite.

         61.     Rather than admit any wrongdoing, APD resolved to go after the protest leaders.

         62.     In response to Ms. Lucero and her fellow protest leaders’ success in moving the

 Aurora City Council to initiate an investigation into Mr. McClain’s death, APD assembled a task

 force to investigate the leaders of the recent protests, including the one that occurred on July 3.

         63.     Detective Silberman volunteered for the job. As he later testified at Ms. Lucero’s

 preliminary hearing:

         Q: You’re aware that on July 20th, that was when, in response to the protest organized
         by our clients in these cases, Aurora decided to launch an independent investigation
         into the murder of Elijah McClain, correct?
         A: I believe that is the correct date.


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         Q: So in response to the City of Aurora launching an investigation into APD’s conduct
         in the murder of Elijah McClain, APD’s decision was to launch an investigation into
         the people who had brought awareness to APD’s misconduct, correct?
         A: That is correct. They decided to investigate the occupation.
         Q: How was that (inaudible) communicated to you?
         A: I was contacted by Sergeant Poppy [sic], he informed me that his is what the
         Department is trying to do, and asked me if I wanted to be part of the task force, and
         I said, yes.

         64.     Having volunteered for the task force, Detective Silberman was assigned to lead the

 portion of the investigation that sought charges against the leaders of the July 3, 2020 protest.

         65.     In service of this goal, APD gave Detective Silberman an incredible quantity of

 resources, including hundreds if not thousands of officer man-hours. APD effectively gave

 Detective Silberman a blank check to try to lock up the protest leaders who had dared to expose

 APD’s extreme misconduct.

         66.     Detective Silberman’s task force officers scoured countless hours of surveillance and

 body camera video in search of any possible wrongdoing by a protester they could use to make an

 arrest and tarnish the credibility of the protest movement.

         67.     In sum, in response to the City Council’s announcement of its investigation, APD

 decided on a policy of attacking the protestors by any means available.

  V.     Detective Silberman’s investigation did not uncover any illegal activity by Ms.
         Lucero

         68.     Upon beginning his investigation into the July 3, 2020 protest leaders, Detective

 Silberman quickly learned that Ms. Lucero was one of them.

         69.     Detective Silberman therefore set about trying to find any possible way to bring

 charges against Ms. Lucero.




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        70.      However, despite a massive investment of time and resources, the only thing

 Detective Silberman’s investigation revealed was that Ms. Lucero helped to lead a peaceful protest

 that called on APD to fire the officers who had murdered Elijah McClain.

        71.      After months of effort by Detective Silberman and the other task force officers,

 Detective Silberman wrote a 33-page single-spaced affidavit detailing the supposed crimes Ms.

 Lucero committed on July 3, 2020. At the end of this affidavit, Detective Silberman summarized the

 entirety of Ms. Lucero’s conduct that he had uncovered:

              a. At 7:10 pm, Ms. Lucero walked at the front of a group of protestors.

              b. At 7:42 pm, Ms. Lucero spoke to a group of protestors outside District 1.

              c. At 10:21 pm, Ms. Lucero brought pizza and put it down outside District 1.

              d. At some point, Ms. Lucero left the protest.

              e. At 1:49 am, Ms. Lucero returned to the protest and had changed from pants into

                 shorts.

              f. At 2:30 am, Ms. Lucero stood outside a door to District 1 for approximately two

                 minutes.

              g. At various points during the protest, Ms. Lucero led protest chants.

        72.      In his preliminary hearing testimony, Detective Silberman confirmed that the actions

 listed in the previous paragraph were the only actions by Ms. Lucero that he had uncovered.

        73.      Detective Silberman also confirmed that none of these actions led to any violence.

        74.      Detective Silberman thus knew that, despite his extensive investigation, he had

 uncovered no wrongdoing by Ms. Lucero. Quite to the contrary, Detective Silberman’s investigation

 revealed that Ms. Lucero had lawfully helped lead a protest.



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         75.     During his investigation, Detective Silberman also learned that the reason the

 officers inside District 1 stayed inside during the protest was that then-Chief Wilson had ordered

 them to stay inside.

         76.     As Detective Silberman testified at the preliminary hearing:

         Q: So, Detective, your understanding is that the officers inside police District One
         were ordered to stay inside the building?
         A: Yes.
         Q: By chain of command, or Chief Wilson?
         A: Correct. I don’t know, specifically, who.
         Q: And at what time? Sorry.
         A: 8:45 [pm].

         77.     Fearing a repeat of the Violin Vigil debacle, then-Chief Wilson ordered the APD

 officers inside District 1 to remain there and not to engage with the protestors.

         78.     Detective Silberman further learned that the officers inside District 1 had a large

 array of both lethal and non-lethal weaponry, as well as body armor to protect themselves.

  VI.    Despite knowing Ms. Lucero had committed no crime, Detective Silberman
         wrongfully initiated criminal proceedings against her, subjecting her to inhumane
         incarceration during the height of the COVID-19 pandemic

         79.     Despite having uncovered no evidence that Ms. Lucero had committed a crime,

 Detective Silberman was determined to have her arrested and prosecuted for serious charges. To do

 this, Detective Silberman wrote a probable cause affidavit that intentionally omitted the exculpatory

 information he learned during his investigation.

         80.     In Detective Silberman’s affidavit, he sought to have Ms. Lucero arrested on the

 charge of Attempt to Commit First Degree Kidnapping, a class 3 felony, among other charges.

         81.     At the time Detective Silberman wrote his affidavit, he knew that the reason the

 APD officers inside District 1 stayed inside was because they had been ordered to remain inside.

         82.     Detective Silberman knowingly left this fact out of his affidavit.

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        83.     In doing so, he maliciously instituted criminal process against Ms. Lucero. This

 malicious prosecution threatened Ms. Lucero with decades in prison.

        84.     Armed with an ill-gotten warrant, Detective Silberman and APD sought to serve it

 on Ms. Lucero in a way that inflicted the maximum amount of pain possible.

        85.     First, despite knowing that Ms. Lucero had no history of violence and that his

 accusations against her amounted to having organized a political protest, Detective Silberman and

 APD had Ms. Lucero arrested by at least eight officers who swarmed her and her husband at their

 apartment, pinning her husband against a wall in a show of force.

        86.     Second, Detective Silberman and APD had Ms. Lucero transported to the Van Cise-

 Simonet Detention Center in Denver after her arrest, despite knowing that the only charges against

 Ms. Lucero arose out of Adams County.

        87.     At the time Detective Silberman submitted his baseless affidavit, COVID-19 was

 sweeping the country. No vaccines existed. No treatments existed. Deaths were constant and

 multiplying. Furthermore, jails were the epicenter of the pandemic, with the Van Cise-Simonet

 Detention Center being among the worst hotspots in the state.




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         88.      At the time APD and Detective Silberman orchestrated Ms. Lucero’s arrest, the Van-

 Cise Simonet Detention Center was not transporting prisoners to other counties to prevent the

 transmission of COVID.

         89.      Knowing this, APD and Detective Silberman ensured that upon Ms. Lucero’s arrest

 she would be brought there.

         90.      Because of this choice by Detective Silberman and SPD, rather than seeing a judge

 and immediately being released, Ms. Lucero would instead be incarcerated indefinitely in Colorado’s

 most dangerous COVID hotspot.

         91.      Ms. Lucero’s first night in jail, the facility was so overcrowded she was forced to

 sleep on the floor in a cell with an obviously-ill cellmate.

         92.      Ms. Lucero spent 8 days in the Van-Cise Simonet Detention Center in the early days

 of COVID before she was brought before a judge in Adams County and released.

         93.      Ms. Lucero was held in her cell for a minimum of 23½ hours per day, and some days

 was let out of her cell for as little as five minutes.

         94.      Detective Silberman and APD could have had Ms. Lucero transported to the Adams

 County Jail instead of the Van Cise-Simonet Detention Center. They chose not to in order to inflict

 maximum pain on Ms. Lucero.

 VII.    Detective Silberman perjured himself at the preliminary hearing in a failed attempt to
         continue his malicious prosecution of Ms. Lucero

         95.      Based on Detective Silberman’s affidavit that omitted material exculpatory

 information – and which, even as written, did not establish probable cause that Ms. Lucero had

 committed any crime – a prosecution commenced against Ms. Lucero.




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         96.     In Adams County Case 20CR3418, the State of Colorado, relying on the assertions

 contained in Detective Silberman’s 33-page affidavit, charged Ms. Lucero with Criminal Attempt to

 Commit First Degree Kidnapping, a class 3 felony that carried up to 32 years in prison as a possible

 penalty, two counts of Inciting a Riot, a class 5 felony carrying potential prison sentences of up to 6

 years each, and two misdemeanors.

         97.     Ms. Lucero’s case was set for preliminary hearing, and after several continuances, the

 case was set to proceed to preliminary hearing on March 9, 2021.

         98.     On March 5, 2021, just four days before the preliminary hearing, Chief Deputy

 District Attorney Tim Twining and Detective Silberman interviewed a witness who was present at

 the District 1 protest, Trey Quinn.

         99.     During the interview, DA Twining and Detective Silberman asked Mr. Quinn about

 the activities of Ms. Lucero and her fellow protest leaders.

         100.    Mr. Quinn’s answer was clear: the barricades that were created at the July 3 protest

 were built by “white anarchist” groups, not anyone associated with Ms. Lucero. Further, when the

 white anarchist groups were building barricades, Ms. Lucero and her fellow protest leaders were

 calling on them to stop.

         101.    Mr. Quinn also stated that Ms. Lucero and her fellow protest leaders played no part

 in tying doors shut.

         102.    Detective Silberman learned from Mr. Quinn that Ms. Lucero and her fellow protest

 leaders “didn’t ask [the white anarchist groups] to do it. They were explicitly on ground were

 expressing their distaste at it happening . . . when they saw how much was being blocked, then they

 were against it. They were against the building of barricades.”



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        103.    Mr. Quinn’s statements to Detective Silberman corroborated what Detective

 Silberman had learned during his investigation: Ms. Lucero had done nothing illegal.

        104.    Mr. Quinn also made clear that he had no motive to help Ms. Lucero, and in fact had

 a motive to do the opposite. In the interview, Mr. Quinn was adamant that he did not like Ms.

 Lucero or her fellow protest leaders. During the over two-hour interview, Mr. Quinn disparaged Ms.

 Lucero and her fellow protest leaders at length. Mr. Quinn was not trying to help Ms. Lucero with

 his statements. He was just telling Detective Silberman what he observed at the District 1 protest.

        105.    Four days later, Ms. Lucero’s case proceeded to preliminary hearing.

        106.    At that hearing, Detective Silberman was asked what interviews he had conducted

 during his investigation. In answering the question, Detective Silberman told a material lie:

        Q: You said eventually you were going to interview witnesses. Are you telling us you’ve
        interviewed zero witnesses as of today?
        A: I interviewed Officer Alcorta.
        Q: Other than Officer Alcorta, did you interview anyone else?
        A: I have not, no.

        107.    Despite having interviewed Mr. Quinn just 4 days before Ms. Lucero’s preliminary

 hearing, Detective Silberman lied about having conducted the interview.

        108.    By lying about having interviewed Mr. Quinn on March 5, Detective Silberman

 prevented Ms. Lucero’s counsel from learning of and adducing Mr. Quinn’s statements so the Court

 could consider them in its probable cause determination.

        109.    In so doing, Detective Silberman intentionally misled the judge responsible for

 determining the existence of probable cause so as to raise the chances of succeeding in his baseless

 and malicious prosecution of Ms. Lucero.

        110.    Unfortunately for Detective Silberman, Ms. Lucero’s counsel learned of Detective

 Silberman’s deception while Ms. Lucero’s preliminary hearing was still pending.

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        111.    As it turned out, the parties did not have enough time to complete the preliminary

 hearing on March 9, 2021, so the hearing was continued to March 22. In the interim, the

 prosecution was forced by its discovery obligations to disclose the video of Mr. Quinn’s interview,

 alerting Ms. Lucero to Detective Silberman’s perjury. But for this fortuitous circumstance, Ms.

 Lucero would not have learned of Detective Silberman’s perjury in time to present Mr. Quinn’s

 statements to the preliminary hearing court. In the absence of the exculpatory information Detective

 Silberman tried to conceal from the court, Ms. Lucero’s kangaroo case may well have proceeded,

 with the judge binding over Detective Silberman’s fabricated charges.

        112.    On March 22, 2021, Ms. Lucero presented Mr. Quinn’s statements to the court at

 her continued preliminary hearing.

        113.    After learning of Mr. Quinn’s statements and after considering the lack of evidence

 against Ms. Lucero, the Court found that there was no probable cause to support the attempted

 kidnapping charge, the only charge that was the subject of the preliminary hearing.

        114.    Further, the preliminary hearing judge stated that in his opinion based on the

 evidence he had heard, there was not probable cause to support any of the charges against Ms.

 Lucero and the warrant for that charge should never have been issued.

        115.    A short while later, the prosecution dismissed the remaining charges.

        116.    APD and Detective Silberman marshalled enormous resources to silence, malign,

 and incarcerate Ms. Lucero for daring to expose the truth about what APD did to Mr. McClain.

        117.    The investigation commissioned by the Aurora City Council would never have been

 initiated without Ms. Lucero’s deeply necessary and fundamentally patriotic commitment to the

 truth. That investigation revealed that everything Ms. Lucero and her fellow protest leaders has been

 saying was true.

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         118.    Mr. McClain was murdered by APD officers.

         119.    These officers have now been charged and are being prosecuted for homicide.

         120.    Once Ms. Lucero’s charges were dismissed, she alerted APD to Detective

 Silberman’s perjury.

         121.    In a letter, she laid out in explicit detail the false, material statements Detective

 Silberman made under oath to try to preserve his failing prosecution of Ms. Lucero.

         122.    Though she did not expect it, Ms. Lucero hoped that APD would act on the clear

 evidence of Detective Silberman’s felonious misconduct.

         123.    APD refused to even investigate the fact that one of their detectives provably lied

 under oath.

VIII.    Ms. Lucero and her fellow protest leaders organized some of the most important
         speech in Colorado’s recent history

         124.    If it weren’t for Ms. Lucero and her fellow protest leaders, Officers Woodyard,

 Rosenblatt and Roedema would still be APD employees. Worse, they would have been emboldened

 by having gotten away with murder with the help of their employer.

         125.    Ms. Lucero and her fellow protest leaders’ sustained activism sparked necessary

 reforms designed to hold police officers accountable for violating individuals’ rights.

         126.    Aurora’s response was to try to silence this speech by any means necessary.

         127.    APD and Detective Silberman mobilized the full power of the state to have Ms.

 Lucero thrown in jail under horrific conditions and threatened with decades in prison for daring to

 demand truth and justice.

         128.    Aurora, APD, and Detective Silberman will now be held accountable for their

 egregious misconduct.


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  IX.    Aurora is responsible for Detective Silberman’s conduct because Aurora reviewed
         and approved it every step of the way

         129.    After Detective Silberman completed his investigation into Ms. Lucero and had

 written a draft of his probable cause affidavit seeking a warrant for Ms. Lucero’s arrest, he sent the

 affidavit to the higher-ups in the APD chain of command for review and approval.

         130.    Detective Silberman’s probable cause affidavit was reviewed and approved by either

 then-Chief Wilson or her designee.

         131.    Based on a review of the proposed probable cause affidavit, then-Chief Wilson or

 her designee was aware that Detective Silberman had omitted from his affidavit the fact that the

 reason APD officers stayed inside District 1 on the night of the July 3, 2020 protest was that they

 had been ordered to do so by then-Chief Wilson and her chain of command.

         132.    Knowing about this material omission, then-Chief Wilson or her designee

 nonetheless approved using Detective Silberman’s affidavit to initiate a prosecution of Ms. Lucero.

         133.    Through this action, the final decisionmaker for Aurora chose to approve moving

 forward with the prosecution of Ms. Lucero despite knowing that the affidavit seeking her arrest

 omitted a material fact, where including the material fact would have vitiated probable cause.

         134.    Through this action, the final decisionmaker for Aurora chose to approve moving

 forward with the prosecution of Ms. Lucero despite knowing that the affidavit, even as written, did

 not establish probable cause to believe that Ms. Lucero had committed any crime.




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                             STATEMENT OF CLAIMS FOR RELIEF

                                     FIRST CLAIM FOR RELIEF
               Colo. Rev. Stat. § 13-21-131; Colorado Constitution, article II, section 7
                                        Malicious Prosecution
                                    (Against Defendant Silberman)

        135.      Ms. Lucero incorporates all other paragraphs as if fully set forth herein.

        136.      Ms. Lucero had a protected right under article II, section 7 of the Colorado

 Constitution not to be subjected to a malicious prosecution.

        137.      Detective Silberman contributed to Ms. Lucero being subjected to a prosecution.

        138.      That prosecution terminated in Ms. Lucero’s favor.

        139.      There was no probable cause to support the prosecution.

        140.      Detective Silberman acted with malice, as described herein.

        141.      The prosecution caused Ms. Lucero to suffer damages, as detailed herein.

                                  SECOND CLAIM FOR RELIEF
                                42 U.S.C. § 1983; Fourth Amendment
                                       Malicious Prosecution
                             (Against Defendant Silberman and Aurora)

        142.      Ms. Lucero incorporates all other paragraphs as if fully set forth herein.

        143.      Ms. Lucero had a protected right under the Fourth Amendment not to be subjected

 to a malicious prosecution.

        144.      Detective Silberman caused Ms. Lucero’s prosecution.

        145.      That prosecution terminated in Ms. Lucero’s favor.

        146.      There was no probable cause to support Ms. Lucero’s arrest, confinement, or

 prosecution.

        147.      Detective Silberman acted with malice, as described herein.

        148.      As described herein, Aurora established a policy and practice to target people who

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 had helped organize protests related to the death of Elijah McClain for investigation and

 prosecution.

         149.     Detective Silberman’s actions described herein were conducted pursuant to this

 policy and practice, at the direction of Aurora. Aurora thereby caused Detective Silberman to engage

 in a malicious prosecution of Ms. Lucero.

         150.     By establishing the task force to target protest leaders, giving the task force

 tremendous resources to target the protest leaders, approving the initiation of a prosecution of Ms.

 Lucero even when this enormous resource expenditure failed to uncover evidence of illegal activity

 by Ms. Lucero sufficient to establish probable cause, and approving initiating the prosecution of Ms.

 Lucero with an affidavit that Aurora knew omitted material facts that, if included, would have

 vitiated any hypothetical arguable probable cause, Aurora acted with a sufficiently culpable mental

 state to be held liable.



                                        PRAYER FOR RELIEF

         Wherefore, Plaintiff respectfully requests this Court enter judgment in his favor and against

 Defendants, and award him all relief as allowed by law and equity, including but not limited to:

         a.       Declaratory relief and injunctive relief, as appropriate;

         b.       Actual economic damages as established at trial;

         c.       Compensatory damages, including, but not limited to those for past and future

                  pecuniary and non-pecuniary losses, physical and mental pain, humiliation, fear,

                  anxiety, loss of enjoyment of life, loss of liberty, privacy, and sense of security and

                  individual dignity, and other non-pecuniary losses, as established at trial;

         d.       Punitive or exemplary damages for all claims as allowed by law in an amount to be

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              determined at trial;

       e.     Issuance of an Order mandating appropriate equitable relief, including but not

              limited to: The imposition of policy changes and training to prevent future similar

              misconduct by Defendants;

       f.     Pre-judgment and post-judgment interest at the highest lawful rate;

       g.     Attorney’s fees and costs; and

       h.     Such further relief as justice requires.



       PLAINTIFFS DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE.



       Dated: April 5, 2023



 /s Adam Frank
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